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ne ; Se U.S. Department of Justice

Seth United States Attorney
Southern District of New York

 

 

     
  
   

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New York, New York 10007 .
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The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse

40 Foley Square

New York, New York 10007

Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)
Dear Judge Nathan:

The Government respectfully submits this letter to request the opportunity to respond to
defense counsel’s letter motion seeking the entry of a protective order, which was filed this
morming. The Government and defense counsel were in discussions — as recently as 6 p.m. last
night — in the hopes of jointly proposing a protective order. Until seeing the filing on ECF this
morning, the Government had understood those discussions to be ongoing. In light of the
defense’s letter, however, the Government respectfully requests until 5 p.m. tomorrow to submit a
response.

Respectfully submitted,

AUDREY STRAUSS
Acting United States Attorney

By: __/s
Alex Rossmiller / Alison Moe / Maurene Comey
Assistant United States Attorneys
Southern District of New York
Tel: (212) 637-2324
Ce: — All counsel of record (by ECF)

The Government's response to the Defense's letter is due by 5 SO ORDERED. 7/27/20
p-m. on July 28, 2020. The Defense may file a reply by 5 p.m.

on July 29, 2020. Before the Government's response is filed, .

the parties must meet and confer by phone regarding this issue, \ din
and any response from the Government must contain an ‘

affirmation that the parties have done so. Alison J. Nathan. US.DJ
SO ORDERED. , SO
